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                                      UNITED STATES DISTRICT COURT
20
                        NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
22 CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,
23                                                        NOTICE OF CLASS ACTION
                        Plaintiffs,                       SETTLEMENT
24                 v.                                     Judge:   Hon. Yvonne Gonzalez Rogers
25 UNITED STATES OF AMERICA FEDERAL
     BUREAU OF PRISONS et al.,
26
                        Defendants.
27
28

     [4614673.4]                                                           Case No. 4:23-cv-04155-YGR
                                  NOTICE OF CLASS ACTION SETTLEMENT
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 1                             NOTICE OF CLASS ACTION SETTLEMENT
 2                 A proposed settlement has been reached in California Coalition for Women
 3 Prisoners et al. v. United States of America Federal Bureau of Prisons et al., No. 4:23-
 4 CV-04155-YGR (N.D. Cal.). The California Coalition for Women Prisoners (“CCWP”)
 5 case is a federal class action lawsuit challenging Federal Bureau of Prisons (“BOP”)
 6 policies, customs, and practices which were alleged to facilitate sexual assault, retaliation,
 7 and unconstitutional conditions at BOP facilities. You are a Class Member if you were
 8 incarcerated at FCI Dublin between March 15, 2024 and May 1, 2024 or if you are a
 9                    Named Plaintiff (R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.; A.S.; and L.T.).
10                 This case only seeks to improve the Class Members’ conditions of confinement
11 and does not seek money damages. No Class Members will receive any money as a
12 result of the lawsuit. The lawsuit does not affect any Class Members’ right or ability
13 to seek money damages through other means.
14                 The BOP has worked with Class Counsel to resolve the complex issues in this case
15 through the Proposed Consent Decree, which is attached hereto in whole as Exhibit 1.
16 The Court has preliminarily approved the Proposed Consent Decree in this matter. This
17 notice explains the Proposed Consent Decree and how you can tell the Court whether you
18 think it is fair.
19                 The following summary of the Proposed Consent Decree is intended only as a
20 summary of key terms of the Proposed Consent Decree and does not amend or alter the
21 terms, provisions, and obligations of the Proposed Consent Decree. This summary does
22 not detail every individual term, provision, or obligation of the Proposed Consent Decree.
23 In the event of any inconsistencies between the terms, provisions, and obligations of the
24 Proposed Consent Decree and the summary set forth herein, the Proposed Consent Decree
25 shall govern.
26                 The Proposed Consent Decree requires the Defendants to implement the following
27 measures for Class Members for a term of two years, unless the BOP moves for and the
28 Court grants termination based on substantial compliance no earlier than 18 months

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 1 following final approval by the Court (Ex. 1, ¶ 32):1
 2                 Public Acknowledgment of Abuse
 3                 a)    The BOP Director will issue a formal, public acknowledgement to victims of
 4 staff sexual abuse at FCI Dublin. Ex. 1, ¶ 88.
 5                 Appointment of Monitor and BOP Liaison
 6                 b)    The Court will appoint Wendy Still as a “Monitor” to implement the
 7 Proposed Consent Decree. If Ms. Still is not available, the Proposed Consent Decree
 8 provides procedures for the selection of another Monitor. The Monitor will be permitted a
 9 reasonable number of staff to assist the Monitor, and the BOP shall pay the fees and costs
10 incurred by the Monitor and staff.
11                 c)    The Monitor will have access to Class Members, including the ability to
12 schedule confidential phone calls and conduct in-person interviews. Class Members will
13 be able to communicate confidentially with the Monitor. The BOP will provide Class
14 Members with access to confidential two-way email communication with the Monitor, and
15 BOP staff will not open outgoing mail from Class Members to the Monitor. Id. Ex. 1,
16 ¶¶ 78-79. The Monitor will also have access to BOP facilities, BOP documents related to
17 Class Members under the terms of the Proposed Consent Decree, and the ability to inspect
18 BOP facilities and interview BOP staff. Class Counsel and BOP Counsel will be permitted
19 to communicate ex parte with the Monitor. Ex. 1, ¶¶ 90-92, 94-97.
20                 d)    The BOP will establish a “BOP Liaison,” who is “an employee from the
21 BOP’s Central Office, a direct report to the BOP’s Deputy Director, and who is
22 designated to and whose sole duties are to facilitate the BOP’s compliance with the terms
23 of this Consent Decree.” Jennifer Knox, Women and Special Populations National Policy
24
25   This summary of the Proposed Consent Decree is intended only as a summary of key
     1
   terms of the Proposed Consent Decree and does not amend or alter the terms, provisions,
26 and obligations of the Proposed Consent Decree. This summary does not detail every
   individual term, provision, or obligation of the Proposed Consent Decree. In the event of
27 any inconsistencies between the terms, provisions, and obligations of the Proposed
   Consent Decree and the summary set forth herein, the Proposed Consent Decree shall
28 govern.

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 1 and Program Coordinator, will be appointed as the BOP Liaison. Ex. 1, ¶¶ 10, 114.
 2                 Monitor’s Public Reports
 3                 e)    The Monitor will issue public monthly and quarterly reports on the treatment
 4 and conditions of Class Members. Ex. 1, ¶¶ 98-100.
 5                 f)    The Monitor will review and report on concerns related to Class Member’s
 6 treatment and conditions at FCI Dublin, including: outstanding medical and/or mental
 7 healthcare needs, PREA reports and advocacy services, compassionate release requests,
 8 release dates and application of Federal Time Credits (FTCs), FCI Dublin disciplinary
 9 incidents and impacts on early release credits and security and recidivism classifications,
10 and property claims and reports of mistreatment during transport from FCI Dublin. Ex. 1,
11 ¶¶ 8, 42-43.
12                 g)    The Monitor will review and report on the capacity of all facilities where
13 class members are designated, including the medical and mental healthcare staffing levels
14 and wait times for outside-provider care. Ex. 1, ¶¶ 37, 36.
15                 h)    The Monitor will review and report on all reports of staff abuse or retaliation
16 against any Class Member. The Monitor will also review and report on all SHU
17 placements of Class Members. Ex. 1, ¶ 50.
18                 i)    The Monitor will review and report on Class Members’ designations,
19 including whether Class Members are designated to facilities with adequate programming
20 and educational and vocational opportunities. The Monitor will also review and report on
21 Class Members’ release dates, Federal Time Credits (“FTCs”), and eligibility for release to
22 community placements (i.e. home confinement or Residential Reentry Centers), and any
23 issues receiving or applying credits, or being released when eligible. Ex. 1, ¶¶ 68, 71. The
24 Monitor will review and report on compassionate release requests submitted by Class
25 Members. Ex. 1, ¶ 77.
26                 j)    The Monitor will also review and report on the protections afforded by the
27 Proposed Consent Decree, including access to confidential communication between Class
28 Members and the Monitor and Class Counsel, access to medical care in Class Members’

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 1 primary language, and access to Rape Crises Centers. Ex. 1, ¶¶ 38, ¶ 39, 83.
 2                 BOP’s Obligations as to Class Member Case Work, Access to Care and Services,
                   and SHU Placements
 3
 4                 k)    Class Member Designations: The BOP will (subject to bed availability,
 5 designation, and individual Class Member needs) house each Class Member “in a facility
 6 as close as practicable to the Class Member’s primary residence, and to the extent
 7 practicable, in a facility within 500 driving miles of that residence” and “in the lowest
 8 security level facility possible.” No Class Member with longer than nine months
 9 remaining on their sentence will be housed in an Administrative Detention Facility
10 (pretrial detention center) for any period longer than six months or at a Federal Transfer
11 Center for any period longer than one month. Time housed at FCI Dublin or at
12 Administrative Detention Facilities following transfer from FCI Dublin will count towards
13 the 18-month waiting period to apply for transfer to a new facility.
14                 l)    Release to Community Placement (Halfway House or Home
15 Confinement): BOP will release to community placement any Class Member eligible for
16 community placement under the First Step Act or the Second Chance Act “as soon as
17 practicable after the Class Member becomes eligible.” The BOP will not deny FTCs or
18 release to community placement under the FSA to any Class Member on the basis of
19 immigration status or the existence of a detainer alone. Ex. 1, ¶¶ 69-70, 72.
20                 m)    FCI Dublin Disciplinary Review: The BOP will review all disciplinary
21 incident reports issued to Class Members at FCI Dublin between January 1, 2020, and May
22 1, 2024, and will expunge all disciplinary reports that are found to contain due process,
23 evidentiary, or other procedural violations and will adjust Class Members’ security and
24 recidivism classifications, FTCs, and release dates accordingly. The Monitor will review
25 and report on this process, including the reclassification of Class Members’ security and
26 recidivism designations and release dates. Ex. 1, ¶¶ 75-76.
27                 n)    Credit Loss from Dublin Transfers: The BOP will ensure that no Class
28 Member lost FTCs or was placed in a “non-earning status” of FTCs due to transfer from

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 1 FCI Dublin, including in transit, while housed at a Federal Transfer Center, or while
 2 designated to an Administrative Detention Center after the Dublin closure. Ex. 1, ¶¶ 73-74.
 3 The Monitor will review reports of lost credits due to transfer and recommend corrective
 4 action.
 5                 o)   Property Claims from Dublin Transfers: Class Members may file claims
 6 for monetary damages for property lost or damaged as a result of the Dublin transfers. The
 7 BOP shall provide, by July 1, 2025, a final decision on all claims for money damages due
 8 to property loss related to the closure of FCI Dublin that were submitted by December 1,
 9 2024. The Proposed Consent Decree provides procedures for Class Members to submit
10 reconsideration requests related to these claims. Ex. 1, ¶¶ 84-86. The Monitor will review
11 and report on such property claims.
12                 p)   Medical and Mental Healthcare: Upon request, the BOP will (consistent
13 with security) communicate with Class Members regarding the status of the request or
14 referral for outside medical care, including the estimated wait time. The BOP will provide
15 medical and mental health care to Class Members in their primary language to the extent
16 feasible, including through confidential interpretation, and incarcerated persons will not be
17 used as translators for Spanish except in emergency situations.
18                 q)   Crisis Counseling: The BOP will provide access to Rape Crisis Centers to
19 all Class Members who request it, including, at a minimum, access to confidential
20 unmonitored calls that will not count against the Class Member’s phone minutes and
21 confidential in-person visits in the Class Member’s primary language.
22                 r)   SHU Placements: The Proposed Consent Decree includes restrictions and
23 guidelines for placements of Class Member in SHU (segregated housing):
24                     Within 24 hours of a Class Member’s placement in SHU, the Class Member
25                      and Monitor will be provided with a copy of the Administrative Detention
26                      Order, including an articulated specific reason for placement in SHU. Ex. 1,
27                      ¶ 44.
28                     All Class Members in SHU will be provided with administrative remedy

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 1                     forms, confidential two-way communication with the Monitor, and
 2                     confidential legal calls with Class Counsel,. Ex. 1, ¶¶ 45, 47-48.
 3                    Class Members placed in SHU on Administrative Detention Status (non-
 4                     punitive status) will be provided: additional phone calls to be presumptively
 5                     approved up to 1.5 hours per week in one session plus one additional phone
 6                     call per week; access to open general correspondence and visitation in
 7                     accordance with the same rules and regulations that apply to general
 8                     population; the opportunity to exercise outside their quarters at least 7 hours
 9                     per week; access to programming activities; a reasonable amount of personal
10                     property; and the ability to purchase and receive items from the commissary
11                     with the same frequency as the general population. Ex. 1, ¶ 46. The Proposed
12                     Consent Decree outlines specific processes for Class Members to submit
13                     complaints related to the denial of these SHU privileges, and for the Monitor
14                     to review and make recommendations on the BOP’s compliance. Ex. 1,
15                     ¶ 51.
16                    Class Members shall not be placed in SHU pending disciplinary review
17                     solely for Low (400 series) or Moderate (300 series) Severity Levels
18                     disciplinary shots.
19                    When a Class Member is placed in SHU for alleged disciplinary violations,
20                     the BOP will provide the Class Member, Class Counsel, and the Monitor a
21                     copy of the underlying incident report within 24 hours. The Class Member
22                     will be provided a Unit Disciplinary Committee (UDC) hearing within 5
23                     workdays, and if referred, a Disciplinary Hearing Officer (DHO) hearing
24                     within 10 workdays. The BOP will provide the Class Member, Class
25                     Counsel, and the Monitor with all documentation related to the UDC and
26                     DHO hearings within 24 hours of the conclusion of the hearing.
27                    The Proposed Consent Decree outlines specific processes for review of SHU
28                     placements, including the involvement of the Monitor and Class Counsel.

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 1                       Ex. 1, ¶¶ 52-57.
 2                 Processes For Reporting Retaliation and Abuse
 3                 s)    Class Members may report allegations of staff physical or sexual abuse to the
 4 Monitor, to DOJ OIG, or to BOP OIA. The Monitor will review and report on allegations
 5 of staff physical and sexual abuse of Class Members, including “an assessment of BOP’s
 6 responses to reports of staff physical and sexual abuse towards Class Members and
 7 recommendations for corrective action, including changes to designations, changes to
 8 housing and job placements, provision of medical and/or mental health treatment, and
 9 other measures necessary to protect Class Members.” The Monitor will report on the
10 status of PREA reports made by Class members regarding abuse that took place at FCI
11 Dublin and reports on injuries and mistreatment suffered by Class Members during
12 transport between BOP facilities. Ex. 1, ¶¶ 62-63, 65-67.
13                 t)    Class Members may report allegations of staff retaliation directly to the
14 Monitor, to DOJ OIG, or to BOP OIA. The Monitor will review and report on allegations
15 of retaliation, including any disciplinary action imposed on Class Members after reporting
16 staff misconduct, and recommend that BOP take corrective action. Ex. 1, ¶¶ 58-61.
17                 u)    “Upon request, BOP shall provide Class Members who report staff abuse
18 with documentation of their report and a written final determination. BOP shall also
19 inform the Class Member whenever: the staff member is no longer posted within the Class
20 Member’s unit; the staff member is no longer employed at the facility; the agency learns
21 that the staff member has been indicted on a charge related to sexual abuse at a BOP
22 facility; or the agency learns that the staff member has been convicted on a charge related
23 to sexual abuse at a BOP facility. Following the filing of a PREA report, BOP shall
24 provide the Class Member with requisite follow up medical and psychological evaluations
25 and care, and information about how to contact a Rape Crisis Center.” Ex. 1, ¶ 63.
26                 Access to Counsel
27                 v)    The BOP shall provide Class Members with confidential access to Class
28 Counsel. Ex. 1, ¶¶ 80-82, 101-105. Class Members will have the opportunity to make a

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 1 free, confidential legal call to Class Counsel at least once per week. In addition, a phone
 2 number for Class Counsel will be added to all Class Members’ Trust Fund accounts, and
 3 Class Members will be able to make collect calls to Class Counsel regardless of
 4 restrictions on phone access. BOP will provide Class Counsel with ongoing and timely
 5 access to Class Members, including confidential legal calls within 72 hours’ notice and
 6 confidential legal visits within 10 days’ notice.
 7                                                * * * * *
 8                 The Proposed Consent Decree also provides that the “BOP shall pay Class
 9 Counsels’ reasonable attorneys’ fees and costs, subject to applicable limitations in terms of
10 eligibility and amount” and that “BOP shall also pay Class Counsel ‘Monitoring fees’ for
11 their reasonable time and reasonable expenses related to monitoring this Consent Decree.”
12 Ex. 1, ¶ 110.
13                 You can read about all of these changes in the Proposed Consent Decree, which is
14 attached hereto as Exhibit 1. The Proposed Consent Decree is also available: online at
15 www.rbgg.com; by contacting Class Counsel at the addresses below; by accessing the
16 Court docket in this case through the Court’s Public Access to Court Electronic Records
17 (PACER) system at https://pacer.uscourts.gov/; or by visiting any office of the Clerk of the
18 Court for the United States District Court for the Northern District of California between
19 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding Court holidays.
20                                              Ernest Galvan
                                                 Kara Janssen
21                                    Rosen Bien Galvan & Grunfeld LLP
                                     101 Mission Street 6th Floor Suite #101
22                                        San Francisco, CA 94501
                                              egalvan@rbgg.com
23                                           kjanssen@rbgg.com
24                                                 Susan Beaty
                                  California Collaborative for Immigrant Justice
25                                         1999 Harrison St, Suite 1800
                                               Oakland, CA 94612
26                                            susan@ccijustice.org
27 / / /
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 1                                                Stephen Cha-Kim
                                                  Carson Anderson
 2                                                  Natalie Steiert
                                         Arnold & Porter Kaye Scholer LLP
 3                                              250 West 55th Street
                                            New York, NY 10019-9710
 4                                      Stephen.Cha-Kim@arnoldporter.com
                                        Carson.Anderson@arnoldporter.com
 5                                        Natalie.Steiert@arnoldporter.com
 6                  PLEASE DO NOT TELEPHONE THE COURT OR THE CLERK’S OFFICE TO
 7 ASK ABOUT THE SETTLEMENT.
 8                  The Court will hold a hearing on the fairness of this settlement at 1:00 PM on
 9 February 25, 2025 before the Honorable Yvonne Gonzalez Rogers at the United States
10 District Court, Northern District of California, Oakland Courthouse, Courtroom 1 - 4th
11 Floor, 1301 Clay Street, Oakland, CA 94612. This date may change without further
12 notice. You should check www.rbgg.com or https://pacer.uscourts.gov/ to confirm the
13 date has not changed.
14
                    All counsel, members of the public, and media may access the hearing through the
15
      following link:
16                              https://cand-uscourts.zoomgov.com/j/1618764848?
                               pwd=bW03Y2NvV0YrK2FQSkxoMXRxOWprQT09
17
                                             Webinar ID: 161 876 4848
18                                               Password: 715550
19                  There is no right to opt-out of the Class. If you do not think the settlement is fair,
20 you can write to the Court, also known as “objecting,” and the Court will consider your
21 comments when deciding whether to approve the Proposed Consent Decree. The Court
22 can only approve or deny the Proposed Consent Decree. The Court cannot change the
23 terms of the Proposed Consent Decree. If the Court denies approval, the terms in the
24 Proposed Consent Decree will not happen, and the lawsuit will continue.
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 1                  Any objections must include the case name, California Coalition for Women
 2 Prisoners et al. v. United States of America Federal Bureau of Prisons et al., and case
 3 number, 4:23-CV-04155-YGR (N.D. Cal.), as well as your name, address, and signature.
 4 Objections may be sent by mail or submitted by filing them in person at any location of
 5 the United States District Court for the Northern District of California no later than
 6 February 7, 2025. If mailed, your objections must be postmarked no later than February 7,
 7 2025, and sent to the following address:
 8
 9                                               Clerk of the Court
                                             United States District Court
10                                          Northern District of California
                                            1301 Clay Street, Suite 400S
11                                               Oakland, CA 94612

12                  If you file a timely written objection, you may, but are not required to, appear at the

13 Final Approval Hearing, either in person or through your own attorney. If you appear
14 through your own attorney, you are responsible for hiring and paying that attorney.
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